
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-380-CV



GENE HOLLOWAY AND DENTON 	APPELLANT
S

INDEPENDENT SCHOOL DISTRICT	



V.



JANE DOE, INDIVIDUALLY AND AS 	APPELLEE

NEXT FRIEND FOR SALLY DOE, A 

MINOR	

 
	

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FROM THE 158TH DISTRICT COURT OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant's And Appellee's Joint Motion To Dismiss.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(2), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.



PER CURIAM

PANEL D: &nbsp;MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J. 



DELIVERED: &nbsp;March 1, 2007 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




